Case 1:19-cv-21148-RNS Document 93-3 Entered on FLSD Docket 01/21/2020 Page 1of5

EXHIBIT 3
Case 1:19-cv-21148-RNS Document 93-3 Entered on FLSD Docket 01/21/2020 Page 2 of 5

 

 

1
1 UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
2
Case No. 19-21148-CIV-RNS
3
BRYAN BOIGRIS, )
4 )
PLAINTIFF, )
5 )
-V- )
6 )
EWC P&T, LLC, )
7 )
DEFENDANT. ) Miami, Florida
8 ) October 11, 2019
)
9
10 TRANSCRIPT OF DISCOVERY HEARING PROCEEDINGS
11 BEFORE THE HONORABLE EDWIN G. TORRES
12 UNITED STATES MAGISTRATE JUDGE
13
14 Appearances:
15 (On Page 2.)
16
17 Reporter Stephen W. Franklin, RMR, CRR, CPE
(561) 514-3768 Official Court Reporter
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Case 1:19-cv-21148-RNS Document 93-3 Entered on FLSD Docket 01/21/2020 Page 3 of 5
2

 

1 Appearances:
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FOR THE DEFENDANT Jonathan R. Woodard, ESQ.
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Case 1:19-cv-21148-RNS Document 93-3 Entered on FLSD Docket 01/21/2020 Page 4of 5

 

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1 THE LAW CLERK: For discovery?

2 THE COURT: Yeah.

3 MR. WOODARD: It is, uh —-

4 THE LAW CLERK: November 20th.

5 MR. WOODARD: November 20th, I'm sorry.

6 THE COURT: Okay. November 20th.

7 So today's the lith. So I have the drop dead date

8 will then be October 25th. Anything not produced by that

9 point -—- and so on the 25th, you need to produce all the

10 documents that you have that I*m compelling, as well as

11 amended responses, so that he has direct representation that,
12 in fact, there were none.

13 If that's the case, then he needs that

14 representation to be able to rely on that. that.

15 So the 25th will have to be the drop dead deadline,
16 since the discovery period closes in November. And then --

17 and then you'll just have to be stuck with the result,

18 whatever that is.

19 MR. DEMPSEY: Yes, Your Honor.
20 THE COURT: So everything is compelled, each request
21 other than four, which I'm sustaining. And number seven and
22 eight I may have sustained, but there was really no objection.
23 You're agreeing to do it, because I understand that helps your
24 case.
25 MR. DEMPSEY: Yes, Your Honor.

 

 

 
Case 1:19-cv-21148-RNS Document 93-3 Entered on FLSD Docket 01/21/2020 Page 5of5
31

 

1 THE COURT: So, fine, then you need to produce them,

2 and -- by the 20th. Anything not produced by the 25th cannot

3 be used at trial. Okay? Or for summary judgment.

4 So if you can give me a proposed ord —- did you

5 already send me a proposed order?

6 MR. WOODARD: I did, Your Honor.

7 | But just to —- just if the drop dead's October 25th,
8 I just want to make sure that doesn't foreclose us getting

9 whatever documents that they give us, and then sending a
10 supplemental discovery request, and then them saying, oh,
11 well, it's too late, because the response deadline is after
12 the discovery cutoff, and then we can't move to compel on that
13 second request for production, something like that. I just
14 want to make sure that we wouldn't be foreclosed on that.

15 That's why we wanted the drop dead —-—

16 THE COURT: Your. cutoff is the 20' -—-

17 MR. WOODARD: November 20th.

18 THE COURT: Twentieth.

19 MR. WOODARD: So the drop --

20 THE COURT: If you want to move to modify that

21 deadline, that's fine with me.

22 MR. WOODARD: Well, that's why we're trying to get
23 away from that, because Judge —- we have to take that up with
24 Judge Scola.

25 THE COURT: Right.

 

 

 
